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                            AFFIDAVIT OF LAUREL CALIENDO

I, Laurel Caliendo, state under the penalties of perjury as follows:

        I.     I am over eighteen years of age.

       2.      The facts set forth in this affidavit are based on my personal knowledge.

        3.     I am currently employed as a Regional Sales Manager at Bay Equity LLC ("Bay

Equity") for Bay Equity's Northeast region.

       4.      Before joining Bay Equity, I was President and Chief Executive Officer at Village

Mortgage Company ("Village"). Bay Equity effected a limited purchase of Village's assets in

20 19, and I joined Bay Equity pursuant to that purchase.

                      TOTAL MORTGAGE'S 2018-2019 RAIDS OF VILLAGE

       5.      Steven Sirmaian and Denise Peach are former employees of Village. Mr.

Sirmaian was a Producing Branch Manager for Village's Portsmouth , New Hampshire branch.

Ms. Peach was a Regional Branch Manager for Village's Leominster, Massachusetts branch.

       6.      Starting in December 2018 - before Village's purchase by Bay Equity - Total

Mortgage, together with Mr. Sirmaian and Ms. Peach, raided Village in two coordinated lift-outs.

       7.      Mr. Sirmaian and Ms. Peach led the efforts to move Village employees to Total

Mortgage and, in fact, held meetings with other Village employees to discuss leaving Village to

go to Total Mortgage together as a group. For example, in or around November 20 18, Village

senior leadership (including myself) met with Mr. Sirmaian, Ms. Peach, and others in the

Portsmouth, Leominster, and Andover branches to try to convince them to stay at Village.

Ultimately, however, our efforts were unsuccessful.

       8.      Around that time, T spoke w ith several employees who confirmed that Ms. Peach

was driving the lift-out and that - although they did not want to leave Vi llage - they felt
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pressured to go to Total Mortgage by Ms. Peach, who was a top-producing Loan Officer at the

time.

        9.       After the mass resignations from Village, our pipelines associated with the

departed employees dried up, and we have reason to believe that this was the result of the

employees taking contact information from our customer relationship management (CRM)

systems in order to move Village’s borrowers to Total Mortgage. Specifically, among other

things, we received emails from borrowers who were confused about whether they were working

with Total Mortgage or Village.

        10.      Although Village’s information concerning its borrowers comprised its

competitive confidential information, at the time, Village did not have the resources to pursue

litigation against Total Mortgage, Ms. Peach, Mr. Sirmaian, or any of its other former employees

who it believed had wrongfully diverted its business using its confidential information.

Nevertheless, certain of Village’s claims concerning its confidential information were assigned

to Bay Equity in 2019 as part of the asset purchase, and Village has since assigned all of its

claims, demands, and causes of action that it may have against Total Mortgage, Steven Sirmaian,

and Denise Peach to Bay Equity.

                            TOTAL MORTGAGE’S RAID OF BAY EQUITY

        11.      Following Bay Equity’s limited asset purchase of Village, Total Mortgage

continued its raids on (now Bay Equity) employees.

        12.      The raids of Bay Equity’s employees were strikingly similar to the 2018-2019

raids on Village. Employees left Bay Equity in a coordinated lift-out, including with nine

resignations on February 21, 2020, all in favor of employment with Total Mortgage.




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        13.     Fo llowing the movement of its employees, Bay Equity learned that certain of its

former employees had taken its confidential borrower information, presumably fo r the purpose

of diverting Bay Equity 's business to Total Mortgage. Bay Equity has also learned of borrowers

being moved over to Total Mortgage, sometimes w ithout the borrowers' knowledge or consent.

        l 4.    I understand that Mr. Sirrnaian helped to effect the Bay Equity li ft-outs. While I

personally do not know the extent of Ms. Peach's involvement in the raids, I do understand that

she and Mr. Sirmaian work closely together at Total Mortgage and share a close working

relationship. Further, I believe that the latest raids on Bay Equity are a continuation of Ms.

Peach's, Mr. Sirmaian's, and Total Mortgage's plan to take over Village's (which later became

Bay Equity 's) business in the Northeast by, for example, using its confidential info rmation to

divert its business.


SIGNED UN DER THE PENAL TIES OF PERJURY THIS 15th DAY OF MAY 2020.




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